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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

CATHOLIC LEGAL IMMIGRATION             )
NETWORK, INC., et al.,                 )
                                       )
    Plaintiffs,                        )
                                       )
    v.                                 )              Civil Action No. 8:20-cv-02042-TDC
                                       )
UNITED STATES CITIZENSHIP AND          )
IMMIGRATION SERVICES, et al.,          )
                                       )
    Defendants.                        )
______________________________________ )

                                     JOINT STATUS REPORT

   In accordance with the parties’ proposal to submit a joint status report on a monthly basis, as

stated in their Joint Motion to Stay All Proceedings filed on September 28, 2020 (ECF No. 18 at

6), the parties, by and through undersigned counsel, hereby file this Joint Status Report, and state

as follows:

       1.       Catholic Legal Immigration Network, Inc., Alianza Americas, and National TPS

Alliance (Plaintiffs) commenced the instant action against the United States Citizenship and

Immigration Services (USCIS), United States Department of Homeland Security (DHS), and

United States Department of State (State), (collectively, Defendants) to compel compliance with

the Freedom of Information Act (FOIA). Specifically, the Complaint seeks responses to three

separate FOIA requests submitted to USCIS (“Request 1”), State (“Request 2”), and DHS

(“Request 3”) respectively. (Compl. ¶¶ 27-40.)

       2.       On April 12, 2021, USCIS produced its sixth rolling release of documents

comprised of 41 pages and 361 partially produced pages from the Office of Policy and Strategy

component (OP&S) to Plaintiffs in response to Request 1. USCIS is presently processing the

seventh production of USCIS pages. Subject to FOIA exemptions, the seventh production of
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USCIS pages is expected to be produced on or about May 6, 2021. Per the request of Plaintiffs,

the seventh production will consist of responsive, non-FOIA exempt documents from OP&S.

       3.       On March 17, 2021, State unintentionally re-produced its third rolling release that

had previously been produced on February 17, 2021. State subsequently identified this error and

produced its fourth rolling release on April 9, 2021 comprised of 1 record released in full and 57

records released in part. State is continuing to collect unclassified potentially responsive

documents. The fifth production of responsive, non-exempt material, to the extent any such

material is identified, will be made on or before April 17, 2021. While searches for records on

classified systems continue to be inhibited by the ongoing impact of COVID-19 mitigation

measures on staffing, State will initiate searches of classified systems promptly upon the relevant

employees re-obtaining access to those systems.

       4.       The parties are continuing to engage in discussions regarding the possible

narrowing or prioritization of Plaintiffs’ FOIA requests.

Dated: April 15, 2021                         Respectfully submitted,

                                              _____/s/_____________________
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